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 6   CAMERON HARRELL
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10   CAMERON HARRELL,                                 Case No.: 5:23-cv-02513 KKK (SHKx)
11
                 Plaintiff,                           NOTICE OF VOLUNTARY
12                                                    DISMISSAL OF ENTIRE ACTION
           vs.                                        WITH PREJUDICE
13
14   JAMIE LEHE D/B/A WILSHIRE'S
     APPLE SHED; DENNIS R. RILEY; and
15   DOES 1 to 10,
16               Defendants.
17
18
19         PLEASE TAKE NOTICE that Plaintiff CAMERON HARRELL (“Plaintiff”)
20   pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
21   the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
22   which provides in relevant part:
23         (a) Voluntary Dismissal.
24               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                      and any applicable federal statute, the plaintiff may dismiss an action
26                      without a court order by filing:
27                      (i)     A notice of dismissal before the opposing party serves either an
28                              answer or a motion for summary judgment.

                                                  1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: January 12, 2024               SO. CAL. EQUAL ACCESS GROUP
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 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
